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                                                                  FILED
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 6
     Attorneys for Plaintiff
 7   UNITED STATES OF AMERICA
 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
10    UNITED STATES OF AMERICA,                 Case No. 21-CR-1538-GPC
11                           Plaintiff,
                                                PLEA AGREEMENT
12           v.
13    LEONARDO TRULSEN DE OLIVEIRA (4),
14                           Defendant.
                                                                                               .




15
             IT IS HEREBY AGREED between the plaintiff, UNITED STATES OF AMERICA,
16
     through its counsel,    Randy S. Grossman, United States Attorney, and P.
17
     Kevin    Mokhtari,   Assistant   United   States    Attorney,       and     defendant,
18
     LEONARDO TRULSEN DE OLIVEIRA      ("TRULSEN"),     with the advice and consent
19
     of Sandra Lechman, counsel for defendant, as follows:
20
     II
21
     II
22
     II
23
     II
24
     II
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     PKM:PKM:117122
28

                                                               Def. Initials
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                                             I

                                         THE PLEA

 3         A.   THE CHARGE

 4         Defendant   agrees   plead   guilty   to   Counts   1,   2,   6,   8,   and   15

 5   Indictment charging defendant with:

 6                                       Count 1

 7        Beginning on a date unknown, but no later than June 2018, and
          continuing up to and including May 13, 2021, within the
 8        Southern District of California and elsewhere, defendants
 9
          GUSTAVO DE AVILA MOREIRA FARINHA, TATIANE PEREIRA ARANTES,
          NATALIA MAGALHAES ROCHA, LEONARDO TRULSEN DE OLIVEIRA, and
10        THASSYA REBECCA DA SILVA ALVES, together with each other and
          with others known and unknown, knowingly and intentionally
11        conspired to commit wire fraud, in violation of Title 18,
          United States Code, Section 1343, that is, to devise a material
12        scheme and artifice to defraud and to obtain money and property
          by means of materially false and fraudulent pretenses,
13
          representations,   and promises, and,     for the purpose of
14        executing such scheme and artifice, to transmit and cause to
          be transmitted by means of wire communications in interstate
15        and foreign commerce, certain writings,        signs, signals,
          pictures, and sounds.
16
                                         Count 2
17
          Beginning on a date unknown, but at least since June 2018, up
18        to and including May 13, 2021, within the Southern District
19        of California and elsewhere, the defendants GUSTAVO DE AVILA
          MOREIRA FARINHA, TATIANE PEREIRA ARANTES, NATALIA MAGALHAES
20        ROCHA, LEONARDO TRULSEN DE OLIVEIRA, and THASSYA REBECCA DA
          SILVA ALVES, and others known and unknown, did knowingly
21        combine, conspire, and agree with each other and with other
          persons known and unknown to commit offenses against the
22        United States in violation of Title 18, United States Code,
          Section 1956, to wit:
23

24             a.    to knowingly conduct and attempt to conduct a
          financial   transaction   affecting  interstate  and   foreign
25        commerce, which involved the proceeds of a specified unlawful
          activity, that is conspiracy to commit wire fraud, with the
26        intent to promote the carrying on of specified unlawful
          activity, and that while conducting and attempting to conduct
27        such financial transactions, knew that the property involved
          in the financial transactions represented the proceeds of some
28

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           form of unlawful activity, in violation of Title 18,                             United
 1         States Code, Section 1956 (a) (1) (A) (i); and
 2
                b. to knowingly conduct and attempt to conduct financial
 3         transactions   affecting   interstate  commerce    and    foreign
           commerce,   which transactions    involved the proceeds        of
 4         specified unlawful activity, that is, conspiracy to commit
           wire fraud, knowing that the transactions were designed in
 5         whole or in part to conceal and disguise the nature, location,
           source, ownership, and control of the proceeds of specified
 6
           unlawful activity, and that while conducting and attempting
 7         to conduct such financial transactions, knew that the property
           involved in the financial transactions represented the
 8         proceeds of some form of unlawful activity, in violation of
           Title 18, United States Code, Section 1956 (a) (1) (B) (i).
 9
           All in violation of Title 18,                     United States Code,           Section
10         1956(h)
11                                           Counts 6, 8, 15
12
           On or about the dates set forth below, within the Southern
13         District of California and elsewhere, during and in relation
           to a felony violation of 18 U.S.C. § 1349 (conspiracy to commit
14         wire fraud), the defendant listed in the table below knowingly
           used, without legal authority, the means of identification,
15         that is, the names, dates of birth and driver's license
           numbers, of the following specified individuals, knowing that
16         the means of identification belonged to another actual person:
17

18                                        Actual Person
            Count      Approx. Date                              Document/ Identifier
                                           (Initials)
19
                6       2020-02-04              J.H.
                                                                  Name,    Date of Birth
                                                                           ("DOB")
20
                8       2020-04-20            C.J.C.                      Name,   DOB
21
                15      2020-09-16            L.C.E.              CA Driver's License
22

23         B.        PRESERVATION OF EVIDENCE

24         Defendant agrees that, following entry of Defendant's guilty plea,

25   the   Government        need   not    hold       or   preserve   any    evidence       seized   in

26   connection       with   this    case.      For    any   controlled      substance      seized   in
27   connection with this case,              Defendant agrees that,           following entry of

28   Defendant's       guilty plea,       the     Government     may destroy         the    controlled

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     substance 30 days after the Government has provided Defendant with the

     laboratory          analysis    report.    If       Defendant           believes      that   additional

 3   testing is needed, Defendant will arrange for and complete such testing

 4   within       that    30-day period,       unless          that    period       is   extended by   joint

 5   written agreement or Court order,                     in which case the Government shall

 6   preserve       the    controlled      substance       for        the    agreed-upon or       judicially

 7   mandated       period.     If   the    court        has    issued        a   preservation     order    in

 8   connection with any seized evidence,                        Defendant will request            that    the

 9   Court        lift    or   revoke   the    preservation                 order    following     entry    of

10   Defendant's guilty plea.

11           C.     CRIMINAL FORFEITURE

12           In addition, Defendant consents to the forfeiture allegations of

13   the Indictment.           The forfeiture in this case is more fully set forth in

14   Section X below.

15                                                        II

16                                      NATURE OF THE OFFENSE

17           A.      ELEMENTS EXPLAINED

18           The offenses to which defendant is pleading guilty has the following

19   elements:
20                                                  Count 1
             1.      There was an agreement between two or more persons to commit
21
                     wire fraud; and
22
             2.      Defendant became a member of the conspiracy knowing of at
23                   least one of its objects and intended to help accomplish it.

24           The elements of wire fraud are:
25
             1.      Defendant knowingly participated in a scheme or plan to
26                   defraud, or to obtain money or property by means of false or
                     fraudulent pretenses, representations, or promises;
27

28   II
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 1
          2.    The statements made or facts omitted as part of the scheme
 2              were materials; that is, they had a natural tendency to
                influence, or were capable of influencing, a person to part
 3              with money or property
 4              Defendant acted with the intent to defraud; that is, the intent
          3•
                to deceive and cheat;
 5

 6        4•    Defendant used, or caused to be used, the wires to carry out
                an essential part of the scheme.
 7
          5.    Defendant became a member of the conspiracy knowing of its
 8              objects and intending to help accomplish them.
 9        As to the forfeiture,     the Government would have to prove,          by a
10   preponderance of the evidence,    the property constitutes or is derived
11   from proceeds the Defendant obtained directly or indirectly from the
12   violations, or was property used, or intended to be used, to commit or
13   to facilitate the commission of the violations.
14                                     Count 2
15
          1.    There was an agreement between two or more persons to commit
16              money laundering;

17        2.    Defendant became a member of the conspiracy knowing of at
                least one of its objects and intending to help accomplish it.
18

19        The elements of money laundering are:

20        1.    Defendant conducted a financial transaction involving property
                that represented the proceeds of wire fraud;
21
          2.    Defendant knew that the property represented the proceeds of
22
                wire fraud; and
23
          3.    Defendant either (a) acted with the intent        to promote the
24              carrying on of wire fraud; or (b) knew that       the transaction
                was designed in whole or in part to conceal       or disguise the
25              nature,  location,  source, ownership,  or       control of the
                proceeds of wire fraud.
26
          As   to the forfeiture,   the Government would have to prove,          by a
27
     preponderance of the evidence,    the property constitutes or is derived
28

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     1    from proceeds the Defendant obtained directly or indirectly from the

     2   violations, or was property used, or intended to be used,         to commit or

     3   to facilitate the commission of the violations.

     4                                   Count 6, 8, 15
     5         1.    Defendant knowingly transferred, possessed or used, without
     6               legal authority, a means of identification of another person;

     7         2.   Defendant knew that the means of identification belonged to a
                    real person; and
 8
               3.   Defendant did so during and in relation to conspiracy to commit
 9                  wire fraud.
10             B.   ELEMENTS UNDERSTOOD AND ADMITTED - FACTUAL BASIS
11             Defendant has fully discussed the facts of this case with defense
12       counsel.   Defendant has committed each element of the crime and admits

13       that there is a factual basis for this guilty plea.       The following facts
14       are true and undisputed:

15                                          Count 1
16             1.   Beginning in 2019 and continuing up to and including May 13,
17                  2021, defendant LEONARDO TRULSEN DE OLIVEIRA together with his
                    co-defendants and others devised and participated in a scheme
18                  to defraud companies that offer rideshare and food/grocery
                    delivery services (the "Rideshare/Delivery Companies") as
                    those companies are described in the Indictment.
19
              2.    Specifically, TRULSEN and his co-conspirators, all of whom are
20
                    Brazilian citizens living unlawfully in the United States,
21                  used the stolen identities and means of identification (such
                    as driver's licenses and social security numbers) of unknowing
22
                    individual victims to create fraudulent driver accounts on the
                    Rideshare/Delivery Companies' platforms in the victim's names
                    and using their identities.
23
              3.    TRULSEN obtained money and property by means of materially
24
                    false and fraudulent pretenses, representations and promises.
25
              4.    TRULSEN and his co-defendants conspired with one another and
26                  with others to use, rent or sell the accounts to individuals
                    who might not otherwise qualify to drive for those services.
27
              5.    The fraudulent scheme included:
28

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                    a. Obtaining images of victims' driver's licenses, or the
     1                 information on victims' driver's licenses, and Social
                       Security Numbers from various sources.
     2
                    b. Creating accounts to drive for the Rideshare/Delivery
     3                 Companies    using  those stolen  identifiers and/or
                       identification documents;
     4
                    c. Using, renting, and/or selling those accounts, including to
 5                     people who might not otherwise qualify to drive for the
                       Rideshare/Delivery Companies;
 6

 7
                    d. Causing the Rideshare/Delivery Companies     to  generate
                       taxable income in the names of the identity theft victims
                       for income they never earned; and
 8

 9                  e. Using fake driver accounts for the purpose of referring
                       other drivers to the Rideshare/Delivery Companies, and then
10                     collecting referral and sign-up bonusses from the companies
                       for additional fake accounts that the conspirators created.
11
               6.   TRULSEN participated in the creation of fraudulent driver
12                  accounts, personally used fraudulent accounts, and collected
                    payments from the Rideshare/Delivery Companies directly.
13                  TRULSEN also shared some of the fraudulent accounts with other
                    co-conspirators. At times, TRULSEN would pay for a new
14                  fraudulent account up front.    At other times, TRULSEN would
                    have a new fraudulent driver account created and would
15                  compensate his co-conspirators by paying any sign-up bonuses
                    to the creator of the account once those bonuses were accrued.
16
                                            Count 2
17
              1.    In connection with the fraudulent scheme described above (the
18                  "wire fraud scheme"), TRULSEN conducted numerous financial
                    transactions affecting interstate commerce that involved the
19                  proceeds of the wire fraud scheme. The financial transactions
                    included   bank-to-bank    transfers,   peer-to-peer  digital
20                  transfers, and debit card transactions.

21            2.    While conducting these financial transactions, TRULSEN knew
                    that the property involved in these transactions represented
22                  the proceeds of the wire fraud scheme.

23            3.    TRULSEN conducted the financial transactions with the intent
                    to promote the carrying on of the wire fraud conspiracy, such
24                  as to pay for vehicle payments, insurance, gas, and other
                    things necessary to perpetuate the wire fraud scheme.
25
              4.    After receiving payment from the Rideshare/Deli very Service
26                  companies, TRULSEN also conducted financial transactions
                    knowing that those transactions were designed in whole and in
27                  part to conceal and disguise the nature, location, source,
                    ownership, and control of the proceeds of the wire fraud
28                  scheme.

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     1                                    Counts 6, 8, 15
     2            1.   In connection with the wire fraud scheme, defendant knowingly
                       transferred, possessed, and used, without legal authority,
     3                 means of identification of other persons, including names,
                       dates of birth ("DOB"), and California Driver's licenses
     4                 ("CADL"), on the dates and in connection with the platforms
                       set forth below to create fraudulent driver accounts:
 5

 6         Count          Date       Actual Person           Document/           Platform
                                      (Initials)             Identifier
 7                                                         Name,   DOB, CADL      Delivery
              6         2020-02-04       J.H.
                                                                                 Comnanv D
 8                                                         Name, DOB, CADL
             8         2020-03-29       C.J.C.                                   Delivery
                                                                                 Comnanv D
 9                                                                 DOB, CADL
             15        2020-09-16       L.C.E.             Name,                 Delivery
                                                                                 Comoanv C
10

11                2.   Defendant knew that these means of identification listed
                       above, for J.H., C.J.C. and L.C.E,, belonged to real persons.
12
                  3.   Defendant knowingly transferred, possessed, and used these
13
                       means of identification to create fraudulent driver accounts
14                     using the identities of these individuals without their
                       knowledge as part of the wire fraud conspiracy.
15

16                                                   rrr

17                                          PENALTIES

18               The crime to which Defendant is pleading guilty carry the following
         p enalties:
19
                                                 Count 1
20
              A.       a maximum 20 years in prison
21
              B.       a maximum $250,000 fine;
22
              C.       a mandatory special assessment of $100.00 per count;
23
              D.       a term of supervised release of at least 3 years.    Defendant
24                     understands that failure to comply with any of the conditions
                       of supervised release may result in revocation of supervised
25                     release, requiring defendant to serve in prison, upon any such
                       revocation, all or part of the statutory maximum term of
26                     supervised release for the offense that resulted in such term
                       of supervised release;
27
              F.       forfeiture to the United States of all property, real and
28                     personal, that constitutes or is derived from proceeds of the

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                offenses, and all property, real and personal, that was used
 1              to commit or to facilitate the commission of the offenses.
 2                                       Count 2
 3        A.    a maximum 20 years in prison;
 4         B.   a maximum $500,000 fine or twice the value of the monetary
                instruments or funds involved;
 5
          C.    a mandatory special assessment of $100.00 per count;
 6
           D.   a term of supervised release of at least 3 years.    Defendant
 7              understands that failure to comply with any of the conditions
                of supervised release may result in revocation of supervised
 8              release, requiring defendant to serve in prison, upon any such
                revocation, all or part of the statutory maximum term of
 9              supervised release for the offense that resulted in such term
                of supervised release; and
10
          F.    forfeiture to the United States of all property, real and
11              personal, that was involved in the offense and any property
                traceable to such property.
12
                             Counts 6,   8, 15 (per count)
13
          A.    a mandatory minimum of 2 years in prison,         which           runs
14              consecutively to the sentence imposed in Count l; and
15        B.    a term of supervised release of no more than 1 year.
16
                                             IV
17
                         DEFENDANT'S WAIVER OF TRIAL RIGHTS
18
                         AND UNDERSTANDING OF CONSEQUENCES
19        This guilty plea waives Defendant's right at trial to:
20        A.    Continue to plead not guilty and require the Government to
                prove the elements of the crime beyond a reasonable doubt;
21
          B.    A speedy and public trial by jury;
22
          C.    The assistance of counsel at all stages of trial;
23
          D.    Confront and cross-examine adverse witnesses;
24
          E.    Testify and present evidence and to have witnesses testify on
25              behalf of defendant; and
26        F.    Not testify or have      any adverse   inferences   drawn from the
                failure to testify.
27

28

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     1         Defendant has been advised by counsel and understands that because

     2   defendant is not a citizen of the United States, defendant's conviction

     3   in this case make it practically inevitable and a virtual certainty that

     4   defendant will be removed or deported from the United States. Defendant

     5   may also be denied United States citizenship and admission to the United
     6   States in the future.

 7                                                      V

 8                    DEFENDANT ACKNOWLEDGES NO PRETRIAL RIGHT TO BE
              PROVIDED WITH IMPEACHMENT AND AFFIRMATIVE DEFENSE INFORMATION
 9
               Any information establishing the              factual      innocence of Defendant
10
         known to the undersigned prosecutor in this case has been turned over
11
         to Defendant. The Government will continue to provide such information
12
         establishing the factual innocence of defendant.
13
               If this case proceeded to trial, the Government would be required
14
         to provide impeachment information for its witnesses.                       In addition,     if
15
         Defendant    raised   an    affirmative         defense,   the    Government      would      be
16
         required to provide information in its possession that supports such a
17
         defense.    By   pleading    guilty,      defendant    will      not   be    provided   this
18
         information, if any, and defendant waives any right to this information.
19
         Defendant   will   not     attempt   to    withdraw    the    guilty    plea     or   file   a
20
         collateral attack on the existence of this information.
21
                                                        VI
22
                            DEFENDANT'S REPRESENTATION THAT GUILTY
23                              PLEA IS KNOWING AND VOLUNTARY
24            Defendant represents that:
25            A.     Defendant has had a full opportunity to discuss all the facts
                     and circumstances of this case with defense counsel and has a
26                   clear understanding of the charges and the consequences of
                     this plea. By pleading guilty, Defendant may be giving up, and
27                   rendered ineligible to receive, valuable government benefits
                     and civic rights, such as the right to vote, the right to
28                   possess a firearm, the right to hold office, and the right to

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                      serve on a jury. The conviction in this case may subject
     1                Defendant to various collateral consequences, including but
                      not limited to revocation of probation, parole, or supervised
     2                release   in   another   case;  debarment   from   government
                      contracting; and suspension or revocation of a professional
     3                license, none of which can serve as grounds to withdraw
                      Defendant's guilty plea;
     4
               B.     No one has made any promises or offered any rewards in return
 5                    for this guilty plea, other than those contained in this
                      agreement or otherwise disclosed to the court;
 6
               C.     No one has threatened Defendant           or   Defendant's   family    to
 7                    induce this guilty plea; and,
 8             D.     Defendant is pleading guilty because Defendant is guilty and
                      for no other reason.
 9

10                                                   VII
11                        AGREEMENT LIMITED TO U.S. ATTORNEY'S OFFICE,
                                SOUTHERN DISTRICT OF CALIFORNIA
12

13             This plea agreement is          limited to the United States Attorney's
14       Office for      the Southern District of California,          and cannot bind any

15       other authorities in any type of matter, although the Government will

16 bring this            plea agreement   to    the    attention of other authorities        if
17       requested by Defendant.

18                                                   VIII

19                           APPLICABILITY OF SENTENCING GUIDELINES

20            The sentence imposed will be based on the factors set forth in
21       18 U.S.C.   §    3553(a).   In imposing the sentence,        the sentencing judge
22       must consult the United States Sentencing Guidelines              (Guidelines)     and
23       take them into account.        Defendant has discussed the Guidelines with
24       defense counsel and understands that the Guidelines are only advisory,
25       not mandatory.       The Court may impose a sentence more severe or less
26       severe than otherwise applicable under the Guidelines, up to the maximum
27       in the statute of conviction.          The sentence cannot be determined until
28       a presentence report is prepared by the U.S. Probation Office and defense

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     1    counsel and the Government have an opportunity to review and challenge

     2    the presentence report.          Defendant agrees to request that a presentence

     3   report     be    prepared.     Nothing      in    this   plea   agreement   limits       the
     4   Government's duty to provide complete and accurate facts to the district
     5   court and the U.S. Probation Office.

     6                                               IX

 7                          SENTENCE IS WITHIN SOLE DISCRETION OF JUDGE

 8             This plea agreement is made pursuant to Federal Rule of Criminal
 9       Procedure 11 (c) (1) (B).      The sentence is within the sole discretion of
10       the sentencing judge who may impose the maximum sentence provided by
11       statute.        It is uncertain at this time what Defendant's sentence will
12       be.   The Government has not made and will not make any representation

13       as to what sentence Defendant will receive.              Any estimate of the probable

14       sentence by defense counsel is not a promise and is not binding on the

15       Court.     Any recommendation made by the Government at sentencing is also

16       not binding on the Court.           If the sentencing judge does not follow any

17       of the parties' sentencing recommendations, Defendant will not withdraw
18       the plea.

19                                                   X

20                              PARTIES'    SENTENCING RECOMMENDATIONS

21             A.    SENTENCING GUIDELINE CALCULATIONS

22             Although the Guidelines are only advisory and just one factor the

23       Court will consider under 18 U.S.C.              § 3553(a)   in imposing a sentence,

24       the parties will       jointly recommend the following Base Offense Level,

25       Specific Offense Characteristics, Adjustments, and Departures:

26                   1.      Base Offense Level [USSG § 2Bl.l(a) (1)]                         7
27                   2.      Loss Amount [§2Bl.l(b) (1) (F)]                             +10
                             [More than $150,000]
28

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                  3.   10 or More Victims [§2Bl.l(b) (2) (A) (i)]             +2
 1
                  4.   Receipt/Sale Stolen Property [§2Bl.l(b) (4)]           +2
 2
                  5.   Grouping (Money Laundering)   [ §3Dl. 2]               +2
 3
                  6.   Acceptance of Responsibility [§ 3El.1]                -3
 4
                  7.   Expeditious Resolution/ Full Appellate Wavier
 5                     [ § 5K2. 0 l                                          -2
 6        In addition, the parties will jointly recommend the following per

 7   count for Counts 6, 8, and 15:

 8                Term Required by Statute [USSG § 2Bl.6]              24 mos
          1.
 9
          B.      ACCEPTANCE OF RESPONSIBILITY
10
          Despite paragraph A above,      the Government need not recommend an
11
     adjustment    for Acceptance of Responsibility if Defendant engages            in
12
     conduct inconsistent with acceptance of responsibility including,             but
13
     not limited to, the following:
14

15
                  1.   Fails to truthfully admit a complete factual basis as
16                     stated in the plea at the time the plea is entered, or
                       falsely denies, or makes a statement inconsistent with,
17                     the factual basis set forth in this agreement;

18                2.   Falsely denies prior criminal conduct or convictions;

19                3.   Is untruthful with the Government, the Court or probation
                       officer; or
20
                  4.   Breaches this plea agreement in any way.
21

22        C.      FURTHER ADJUSTMENTS AND SENTENCE REDUCTIONS
                  INCLUDING THOSE UNDER 18 U.S.C. § 3553
23
24        Defendant may request or recommend additional downward adjustments,

25   departures, or variances from the Sentencing Guidelines under 18 U.S.C.

26   § 3553. The Government will oppose any downward adjustments, departures,
27   or variances not set forth in Section X, paragraph A above.

28   II

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                  D.    NO AGREEMENT AS TO CRIMINAL HISTORY CATEGORY
     1
                  The parties have no agreement as to Defendant's Criminal History
     2
          Category,      except       that,    if     Defendant      is    determined       to   be    a    Career
     3
          Offender,      the    parties       agree    that    the    Defendant       is    automatically            a
     4
         Criminal History Category VI pursuant to USSG § 4B1.1 (b).
     5
                 E.     "FACTUAL BASIS" AND "RELEVANT CONDUCT" INFORMATION
     6
                 The facts in the "factual basis" paragraph of this agreement are
     7
         true and may be considered as "relevant conduct" under USSG § 1B1.3 and
     8
         as     the    nature    and     circumstances         of    the     offense       under      18    U.S.C.
     9
         §    3553 (a) (1).
10
                 F.     PARTIES' RECOMMENDATIONS REGARDING CUSTODY
11
                 For   Counts     1    and    2,    the     Government       agrees    to    recommend        that
12
         defendant be sentenced to the low end of the applicable guideline range
13
         as calculated by the Government at sentencing.
14
                 For the aggravated identity theft counts (Counts 6, 8, and 15), the
15
         parties agree that defendant must be sentenced to a mandatory minimum
16
         of 24 months' custody per count.                   As to Count 6, the parties agree that
17
         the Court must impose the sentence consecutively to the sentence imposed
18
         for Count 1.
19
                 As to Counts 8 and 15, the Government agrees to recommend that the
20
         sentences for these counts run concurrently to the sentence imposed for
21
         Count 5.
22
                 G.    SPECIAL ASSESSMENT/FINE/FORFEITURE
23
                       1.      Special Assessment
24
                 The parties will         jointly recommend that Defendant pay a                           special
25
         assessment in the amount of $100.00 per felony count of conviction to
26
         be paid forthwith at time of sentencing.                         Special assessments shall be
27
         paid through the office of the Clerk of the District Court by bank or
28

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     1    cashier's check or money order made payable to the "Clerk, United States
     2    District Court."

     3                 2.      Fine

     4           The Government will not recommend a fine.

     5                 3.      Forfeiture/Restitution

     6           The financial addendum shall govern the forfeiture and restitution
     7    in this case.

 8               H.    SUPERVISED RELEASE

 9               The Government is free to recommend a period of supervised release.

10        If the Court imposes a term of supervised release,                     Defendant will not

11       seek to reduce or terminate early the term of supervised release until

12       Defendant     has    served at      least    two-thirds     of   the   term of    supervised

13       release and has fully paid and satisfied any special assessments, fine,

14       criminal forfeiture judgment and restitution judgment.

15                                                        XI

16                          DEFENDANT WAIVES APPEAL AND COLLATERAL ATTACK

17               Defendant waives (gives up) all rights to appeal and to collaterally

18       attack every aspect of the conviction and sentence. This waiver includes,

19       but is not limited to,            any argument that the statute of conviction or

20       Defendant's prosecution is unconstitutional and any argument that the

21       facts    of   this   case    do   not    constitute   the   crime      charged.    The    only
22       exception     is     defendant     may    collaterally      attack     the   conviction     or

23       sentence on the basis that defendant received ineffective assistance of

24       counsel. If defendant appeals, the Government may support on appeal the

25       sentence or restitution order actually imposed.

26       / /

27       II
28       /I

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 1                                               XII

 2                             BREACH OF THE PLEA AGREEMENT

 3         Defendant and Defendant's attorney know the terms of this agreement

 4   and shall raise,    before the sentencing hearing is complete,                        any claim

 5   that the Government has not complied with this agreement.                         Otherwise,

 6   such claims shall be deemed waived                (that is,    deliberately not raised

 7   despite awareness that the claim could be raised), cannot later be made

 8   to any- court,   and i:f later made to a court,              shall constitute a breach

 9   of this agreement.

10         Defendant breaches this agreement if defendant violates or fails

11   to perform any obligation under this agreement. The following are non-

12   exhaustive examples of acts constituting a breach:

13         A.    Failing to plead guilty pursuant to this agreement;

14
           B.    Failing to fully accept responsibility                    as      established      in
15               Section X, paragraph B, above;

16         C.    Failing to appear in court;

17         D.    Attempting to withdraw the plea;

18         E.    Failing to abide by any court order related to this case;

19         F.    Appealing (which occurs if a notice of appeal is filed) or
                 collaterally attacking the conviction or sentence in violation
20               of Section XI of this plea agreement; or

21         G.    Engaging in additional criminal conduct                     from    the    time   of
                 arrest until the time of sentencing.
22

23         If Defendant breaches this plea agreement,                 Defendant will not be

24   able to enforce any provisions, and the Government will be relieved of

25   all   its   obligations    under     this    plea        agreement.     For    example,       the

26   Government may proceed to sentencing but recommend a different sentence

27   than what it agreed to recommend above.                  Or the Government may pursue

28   any   charges    including   those     that       were     dismissed,      promised      to    be

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     1    dismissed, or not filed as a result of this agreement (Defendant agrees

     2    that any statute of limitations                relating to     such charges     is     tolled

     3    indefinitely as of the date all parties have signed this agreement;

     4    Defendant also waives any double jeopardy defense to such charges). In

     5   addition, the Government may move to set aside defendant's guilty plea.
     6   Defendant may not withdraw the guilty plea based on the Government's
     7   pursuit of remedies for Defendant's breach.
     8         Addi tiona-lly,   if Defendant breaches this plea agreement:                    ( i)   any
     9   statements made by Defendant,            under oath,      at the guilty plea hearing

10        (before either a Magistrate Judge or a District Judge);               (ii) the factual

11       basis statement in Section II.Bin this agreement; and (iii) any evidence

12       derived from such statements, are admissible against defendant in any

13       prosecution of,      or any action against,             defendant.   This   includes         the

14       prosecution of the charge(s) that is the subject of this plea agreement

15       or any charge(s) that the prosecution agreed to dismiss or not file as

16       part of this agreement, but later pursues because of a breach by the
17       Defendant.       Additionally,         Defendant       knowingly,    voluntarily,            and
18       intelligently waives any argument that the statements and any evidence

19       derived from the statements should be suppressed, cannot be used by the

20       Government,     or are inadmissible under the United States Constitution,

21       any statute, Rule 410 of the Federal Rules of Evidence, Rule ll(f)                            of
22       the Federal Rules of Criminal Procedure, and any other federal rule.

23                                                     XIII

24                           CONTENTS AND MODIFICATION OF AGREEMENT
25            This plea      agreement     embodies       the   entire   agreement    between         the
26       parties   and    supersedes      any    other    agreement,     written     or   oral.       No

27       modification of this plea agreement shall be effective unless in writing
28       signed by all parties.

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     1                                                  XIV

     2                      DEFENDANT AND COUNSEL FULLY UNDERSTAND AGREEMENT
     3           By signing this agreement, defendant certifies that defendant has

     4    read it     (or that it has been read to defendant in defendant's native

     5    language).        Defendant has discussed the             terms    of this      agreement with

     6   defense counsel and fully understands its meaning and effect.

     7                                                   XIT

     8                                DEFENDANT SATISFIED WITH COUNSEL
     9           Defendant      has    consulted    with        counsel     and      is   satisfied    with

10       counsel's representation. This is defendant's independent opinion, and

11       defendant's counsel did not advise defendant about what to say in this
12       regard.
                                                         Respectfully submitted,
13
                                                         RANDY S. GROSSMAN
14                                                       United States Attorney
15
         January 21, 2022
16       DATED
                                                                 stant U.S. Attorney
17

18
          1/21/2022
19       DATED                                           SANDRA LECHMAN
                                                         Defense Counsel
20
         IN ADDITION TO THE FOREGOING PROVISIONS TO WHICH I AGREE, I SWEAR UNDER PENALTY
21       OF PERJURY THAT THE FACTS IN THE "FACTUAL BASIS" PARAGRAPH ABOVE ARE TRUE.

22

23                                                            * Leonardo Trulsen de Oliveira
          1/21/2022
         DATED                                           LEONARDO TRULSEN DE OLIVEIRA
24                                                       Defendant
         Approved by:
25
                                        *On   January   21,    2022,   I,   Sandra    Lechman,   attorney   fr
26                                      Leonardo Trulsen de Oliveira read and explained this pl a
         Yic.frt.r P. w/ut-e,           agreement to Mr. Trulsen de Oliveira with the help of a
27       VICTOR p. WHITE         Court Certified Portuguese interpreter. Mr. Trulsen                          e
         Assistant u. s. Attornefliveira understood everything we discussed and authoriz                      ct
28                              me to sign this plea for him. He understands that                             y
                                signature on his behalf has the same effect as if he h                        d
         Plea Agreement                 signed himsi_aj.f. He agrees to b8Db\'unrL8i'tall the terms a d
                                           d. .      f h.                 e . ~1      ia 1 s
                                        con itions o t is p 1 ea.                 2 l-CR-1538-GPC
